                              U.S. v. Sean Combs
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      Prospective Jurors Both Sides Agree Should Proceed to In-Person Voir Dire

  2            117             234              335              430              555
  4            118             239              336              431              560
  5            127             240              338              433              562
  6            131             242              339              437              565
 15            137             245              341              439              566
 20            143             247              342              440              572
 22            146             252              347              446              575
 25            149             255              352              454              578
 28            157             257              353              455              582
 29            160             261              357              456              583
 37            161             262              361              459              585
 48            163             263              364              466              591
 51            164             268              366              474              592
 52            165             275              367              479              598
 55            175             279              368              484              607
 58            180             281              370              485              610
 60            183             282              382              488              611
 61            184             288              385              491              612
 62            194             289              389              493              613
 63            199             292              390              496              618
 65            201             295              392              497              619
 70            204             300              402              502              620
 75            208             303              403              504              623
 81            210             304              404              517              625
 84            211             307              407              519              633
 88            216             316              408              522              634
 89            217             317              415              523              638
 92            218             319              417              524              639
101            220             321              418              529              644
106            222             324              422              532              645
110            223             326              425              533              647
112            227             327              426              536              649
116            230             330              428              545              650


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